       Case 3:19-mj-24594-AGS Document 60 Filed 09/18/20 PageID.739 Page 1 of 5



 1
 2
 3
 4
 5
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                              Case No.: 19-mj-24594-AGS
11                                         Plaintiff,       ORDER DENYING DEFENDANT’S
                                                            MOTION TO BAR COURTHOUSE
12   v.
                                                            ARREST OR STAY PROCEEDINGS
13   Raymundo OREGEL-OROZCO,                                (ECF No. 37)
14                                      Defendant.
15
16            Defendant is charged with misdemeanor attempted improper entry by an alien. He
17   fears that—even if acquitted at trial—immigration officers will arrest him in the courtroom
18   to begin removal proceedings. The prospect of such a courtroom immigration arrest, he
19   argues, defies common-law principles and chills his constitutional rights to a fair criminal
20   trial.
21            If this looming arrest indeed violates his rights, defendant could bring a pre-emptive
22   civil suit for injunctive and declaratory relief to bar such courthouse detentions. Or he could
23   wait for a wrongful arrest to happen and then sue the offending officials in a civil-rights
24   lawsuit for money damages and equitable relief. Both these options would afford
25   immigration officials notice, an opportunity to be heard, and other protections. See, e.g.,
26   Fed. R. Civ. P. 65 (injunction requirements).
27            But defendant has not pursued such civil procedures. Instead, he moves for an order
28   in this criminal case to “prohibit his unlawful and unconstitutional civil arrest at court.”

                                                        1
                                                                                      19-mj-24594-AGS
      Case 3:19-mj-24594-AGS Document 60 Filed 09/18/20 PageID.740 Page 2 of 5



 1   (ECF 37, at 1.) Even if it were wise for this request to proceed in a criminal action, rather
 2   than a civil suit, this Court is not empowered to grant what amounts to an injunction against
 3   a non-party federal agency. See 28 U.S.C. § 636. So, the motion is denied.
 4                                        BACKGROUND
 5          Defendant Raymundo Oregel-Orozco is currently on pretrial release, awaiting trial
 6   on the misdemeanor charge of attempted improper entry by an alien, in violation of
 7   8 U.S.C. § 1325. (See ECF 1, 8, 9.) He worries that Immigration and Customs Enforcement
 8   will detain him after trial either “in court or in the hallway outside the courtroom” to put
 9   him in removal proceedings. (See ECF 37, at 2.) According to Oregel and several
10   declarants, “[i]mmigration     officers   routinely   follow defendant[s] to their court
11   appearances and then sit in the gallery to see what happens in the criminal case.” (Id.;
12   see also ECF 43-1, at 3-4, 6-9, 11-13, 15-17, 19-20 (declarations from Federal Defender
13   attorneys).) So Oregel urges this Court to exercise its “broad supervisory powers” in order
14   “to ensure that Mr. Oregel is not irreparably injured by civil deportation arrest at the
15   courthouse.” (ECF 37, at 5.) Alternatively, Oregel requests a stay while he seeks an appeal
16   or writ of mandamus. (See ECF 37, at 15-17.)
17                                         DISCUSSION
18   A.     Motion to Bar Immigration Arrest at Courthouse
19          To decide Oregel’s motion to prohibit courthouse arrest, this Court must first define
20   the nature of the relief sought and determine whether magistrate judges are authorized to
21   grant it.
22          1. Is Oregel Seeking an Injunction?
23          Oregel’s requested prohibition on courthouse arrests seems to be an injunction,
24   which is “the means by which a court tells someone what to do or not to do.” See Nken v.
25   Holder, 556 U.S. 418, 428 (2009). Indeed, all four courthouse-arrest cases that Oregel
26   relies on involved civil suits for injunctions against ICE or its parent, the Department of
27   Homeland Security. See New York v. ICE, No. 19-cv-8876(JSR), 2020 WL 3067715, at *1
28   (S.D.N.Y. June 10, 2020) (“[P]laintiffs here seek injunctive and declaratory relief against

                                                  2
                                                                                    19-mj-24594-AGS
      Case 3:19-mj-24594-AGS Document 60 Filed 09/18/20 PageID.741 Page 3 of 5



 1   ICE’s current courthouse arrest policy . . . .”); Washington v. DHS, No. C19-2043 TSZ,
 2   2020 WL 1819837, at *6 (W.D. Wash. Apr. 10, 2020) (same); New York v. ICE,
 3   431 F. Supp. 3d 377, 381 (S.D.N.Y 2019) (same); Ryan v. ICE, 382 F. Supp. 3d 142, 146
 4   (D. Mass. 2019) (enjoining ICE “from civilly arresting parties, witnesses, and others
 5   attending Massachusetts courthouses on official business”), vacated and remanded,
 6   No. 19-1838, 2020 WL 5201945 (1st Cir. Sept. 1, 2020).
 7         Yet Oregel argues that he is not seeking an injunction at all, but merely asking the
 8   Court to exercise its supervisory powers. He points to cases that uphold a judge’s inherent
 9   supervisory authority to control the courtroom and ensure respect for litigants’ rights while
10   court is in session. (See ECF 43, at 5 (collecting cases).) But this type of courtroom control
11   falls far short of Oregel’s demand. In his motion, he implores the Court to “order the
12   Government not to civilly arrest Mr. Oregel coming to or going from his court appearance.”
13   (ECF 37, at 2.) Such an order would cover time when the Court was not in session at all,
14   or at least not in session on Oregel’s case. In fact, Oregel’s primary concern is that he’ll be
15   arrested immediately after sentencing or acquittal, when his criminal case is completely
16   over. Thus, his request is broader than this Court’s authority to maintain order and decorum
17   during courtroom sessions. It is an injunction.
18         2. May This Court Issue Injunctions?
19         At oral argument, Oregel argued in the alternative that―even if his requested order
20   qualifies as an injunction―this Court is authorized to grant that relief in a criminal case.
21   The “font of magistrate judge authority” is 28 U.S.C. § 636. Roell v. Withrow, 538 U.S.
22   580, 587 (2003). Although that statute gives magistrate judges “the power to conduct
23   [misdemeanor] trials,” 28 U.S.C. § 636(a)(3), it does not explicitly authorize them to issue
24   injunctions. See also 18 U.S.C. § 3401 (allowing magistrate judges to “try” and “sentence”
25   individuals “accused of a misdemeanor”).
26         Oregel argues persuasively that 28 U.S.C. § 636(b)(1)(A)―which explicitly
27   prohibits magistrate judges from ruling on “a motion for injunctive relief”―does not apply
28   in the context of misdemeanor trials. Specifically, he notes that this subsection also bars

                                                   3
                                                                                     19-mj-24594-AGS
      Case 3:19-mj-24594-AGS Document 60 Filed 09/18/20 PageID.742 Page 4 of 5



 1   magistrate judges from disposing of motions “to suppress evidence in a criminal case,”
 2   28 U.S.C. § 636(b)(1)(A), but they routinely rule on such motions in misdemeanor
 3   proceedings. That argument is beside the point. Even if subsection 636(b)(1)(A) doesn’t
 4   apply, nothing else in the statute affirmatively authorizes magistrate judges to issue
 5   injunctions in misdemeanor cases. So, this Court has no power to provide the requested
 6   relief. See Teczon-Marin v. Dembin, Case No. 3:20-cv-01493-LAB, ECF No. 8, at 3 (S.D.
 7   Cal. Aug. 10, 2020) (“Judge Dembin couldn’t enjoin Teczon-Marin’s arrest: Magistrate
 8   Judges are not authorized by law to issue injunctive relief.”). 1
 9   B.    Motion for Stay Pending Appeal
10         That leaves only the question of whether to stay this case so that Oregel can seek an
11   interlocutory appeal or writ of mandamus. In ruling on such a stay, the Court must consider
12   four factors: (1) “whether the stay applicant has made a strong showing that he is likely to
13   succeed on the merits;” (2) “whether the applicant will be irreparably injured absent a stay;”
14   (3) “whether issuance of the stay will substantially injure the other parties interested in the
15   proceeding;” and (4) “where the public interest lies.” Nken, 556 U.S. at 434 (citation
16   omitted). “The first two factors of the traditional standard are the most critical.” Id.
17         The first two critical factors cut against Oregel. As to the first one, no matter how
18   strong the other factors are, Oregel must show that he has “more than a mere possibility of
19   relief.” Nken, 556 U.S. at 434 (alteration and citation omitted). Oregel provides no case
20   law or convincing argument to suggest that this Court has authority to issue the broad
21   restriction he wants in this criminal case. So he has not made a “strong showing” that he is
22   likely to succeed on the merits. As to the second factor, Oregel has not shown that denying
23
24
           1
25           As magistrate judges lack the power to issue injunctions, this Court need not
     address Oregel’s various arguments justifying that relief. The Court notes, however, that
26   the First Circuit recently held that courtroom immigration arrests do not violate the
27   common-law privilege against courthouse arrests. See Ryan v. ICE, ___ F.3d ___,
     No. 19-1838, 2020 WL 5201945, at *12 (1st Cir. Sept. 1, 2020). This ruling undercuts one
28   of Oregel’s central arguments for an injunction.
                                                    4
                                                                                      19-mj-24594-AGS
      Case 3:19-mj-24594-AGS Document 60 Filed 09/18/20 PageID.743 Page 5 of 5



 1   the stay will cause irreparable injury. Oregel may still obtain his desired injunction; he
 2   simply must get it in a civil suit. Thus, his motion for a stay of this criminal case must fail.
 3                                          CONCLUSION
 4         In his motion to bar courthouse arrest, Oregel attempts to jam the square peg of civil
 5   injunctive relief into the round hole of his criminal trial. Unlike the Criminal Rules, the
 6   Federal Rules of Civil Procedure establish mechanisms for expedited and temporary
 7   injunctive relief. See Fed. R. Civ. P. 65. Oregel is free to pursue that relief in a civil action,
 8   just like the plaintiffs in the four courthouse-arrest cases he relied on. But his motions to
 9   bar courthouse arrest in this criminal case and to stay these proceeding are both DENIED.
10   Dated: September 18, 2020
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     5
                                                                                        19-mj-24594-AGS
